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ROBERT HUNTER BIDEN, an individual,
Plaintiff,
Vs.
GARRETT ZIEGLER, an individual; ICU, LLC, a
Wyoming limited liability company d/b/a Marco
Polo, and DOES 1 through 10, inclusive,

Defendant(s)

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

Case No.: 23-cv-07593-HVD-KS

Honorable Hernan D. Vera
Magistrate Judge Karen L. Stevenson

REPRESENTATIVE ANNA PAULINA
LUNA'S DECLARATION IN SUPPORT OF
DEFENDANTS' MOTION TO RECUSE
THE HONORABLE HERNAN D. VERA

Date: April 25, 2024
Time: 10:00 a.m.

Ctrm: 5B
1, Anna Paulina Luna, declare as follows:
1. Tam a Member of the U.S. House of Representatives and represent Florida’s 13"

congressional district. I serve on the Committee on Oversight and Accountability, which has been
(in conjunction with the Judiciary and Ways and Means Committees) conducting an Impeachment

Inquiry into President Joe Biden, the father of the Plaintiff in this case.

DECLARATION OF ANNA PAULINA LUNA

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2... [am not a party to this action. I make this declaration in support of Defendants’
Motion for Recusal. Unless otherwise stated, I have personal knowledge of the facts set forth
herein that if called as a witness I could and would testify competently thereto.

3.. [ obtained a copy of the “Report on the Biden Laptop” (“Biden Laptop Report”),
which was disseminated by Defendant, Marco Polo, a nonprofit investigative and publishing

group, and is available for free to the general public, at https://bidenreport.com, as well as in print.

I am personally aware that Marco Polo has also published data, emails and photographs from a
laptop that Hunter Biden is reported to have abandoned at a computer repair shop in Delaware,
which is the subject numerous news articles. I have viewed some of the laptop’s emails available

at = https://bidenlaptopemails.com and some of the pictures available at

https://bidenlaptopmedia.com.

4. After obtaining a copy of the Biden Laptop Report, I provided it to members of the
Congressional Committee on Oversight and Accountability involved in the Biden family
investigation and subsequent Impeachment Inquiry. The contents of the Biden Laptop Report have
been — and continue to be ~ utilized by me, my staff, and by other members and staff of the
Congressional Committee on Oversight and Accountability, as an important and reliable source to
identify relevant factual materials and as a reference manual of transactions involving the Biden
family, which relate to events and activities suspected to be violations of law by President Joe

Biden, members of his family, and various associates.

5. The preparation and publication of the Biden Laptop Report and Biden laptop files,
subsequently used by Congress to assist in the investigation of matters of the utmost importance,

demonstrate the unique significance of the Biden Laptop Report and the websites as a detailed
repository of relevant information concerning President Biden and the Biden family, information
which frequently is not easily accessible in the public domain,

6. Defendant Garrett Ziegler, on behalf of Marco Polo, has briefed, been consulted
by, and continues to assist me and my staff members along with other congressional staff involved
in the ongoing Impeachment Inquiry. The Biden Laptop Report is a publication regarding a matter

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DECLARATION OF ANNA PAULINA LUNA

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of immense public importance. If the Biden Laptop Report is concealed and the published data,
emails and photographs are removed from Defendants’ websites, the public and members of
Congress — and their staff— would be deprived of vitally important facts available from no other
source in continuing to conduct the impeachment inquiry.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed April 10, 2024, at

AnnabPaulina Luna

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DECLARATION OF ANNA PAULINA LUNA

